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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

SADIE HACKLER, on behalf of herself             §
and all others similarly situated,              §
                                                §
Plaintiff,                                      §
                                                §
v.                                              §        Case No. 5:18-CV-00911-XR
                                                §
TOLTECA ENTERPRISES, INC. d/b/a                 §
PHOENIX RECOVERY GROUP,                         §
                                                §
Defendant.                                      §


                                Declaration of Ben Bingham
              in Support of Plaintiff's Motion to Compel Discovery Responses


        My name is Benjamin (Ben) R. Bingham. I am one of Plaintiffs counsel in this

case. In support of Plaintiff's Motion to Compel Discovery Responses, I offer for the

Court's consideration the following exhibits:

        Exhibit A: A copy of Plaintiff's First Set of Interrogatories, Request for Production

of Documents, and Request for Admission.

        Exhibit B, a copy of Defendants responses to the first set of discovery requests

that is Exhibit A.

        Exhibit C, a copy of Plaintiff's second set of interrogatories to Defendant, and

        Exhibit D, a true and correct copy of Defendant's responses to Plaintiff's second

set of Interrogatories.

        For easier reference, I have hand-written page numbers in the bottom right hand

corner of the exhibits, and the number in parenthesis refer to the hand-written page

numbers).

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      To the first set of discovery request, Plaintiff seeks to compel responses to

Interrogatory 1 in the first set of discovery (p.5, Responses at p.13), Interrogatory 5,

Interrogatories 8,9, 11,12,13, all of which Defendant responded "will supplement" but

hasn't done so thus far. The discovery cut-off is June 1oth.

       Plaintiff seeks to compel and answer to Request for Admission #5 (Request at P.

9, Response at P. 16).

       Plaintiff seeks to compel production of the documents requested in Request for

Production No. 1 (Request at P. 7, Response at P. 20), 15 (concerning 2018 tax return

or balance sheets) and 16 (Requests P. 8, Responses P. 21).

       With respect to Plaintiff's Second Set of Interrogatories, Plaintiff seeks to compel

a response to Interrogatory No 1 (Interrogatory at P. 25, Response at P. 29) and 3

(Interrogatory P26, Response P.30).

       Plaintiff contends that all the discovery requests which Plaintiff seeks to compel

responses are relevant to the issues of numerosity, ascertainability, and to Defendant's

affirmative defense of bona fide error despite reasonable procedures in place to avoid

such errors.

       This declaration is made under penalty of perjury this 17th day of May 2019, in

San Antonio, Texas.


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                                                              /

                                                 Benjamin l.Bif19ham




DECLARATION                                                                   Page 212
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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

SADIE HACKLER, on behalf of herself         §
and all others similarly situated,          §
                                            §
Plaintiff,                                  §
                                            §
v.                                          §         Case No. 5:18-CV-00911-XR
                                            §
TOLTECA ENTE~PRISES, INC. d/b/a             §
PHOENIX RECOVERY GROUP,                     §
                                            §
Defendant.                                  §

PLAINTIFF'S FIRST SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION
    OF DOCUMENTS, AND REQUESTS FOR ADMISSIONS TO DEFENDANT

TO: DEFENDANT, TOLTECA ENTERPRISES, INC. d/b/a PHOENIX RECOVERY
GROUP, by and through Its attorney, Tom Clarke at the Law Offices of Tom Clarke,
8026 Vantage Dr., Ste. 105, San Antonio, Texas 78230.

        PLEASE TAKE NOTICE that you are hereby notified and required to respond to the
following Interrogatories, Requests for Production of Documents, and Requests for
Admissions propounded by Sadie Hackler, Plaintiff herein, through her attorneys of record,
within thirty (30) days from service hereof in accordance with the provisions of Rule 33, 34
and 36, et seq., of the Federal Rules of Civil Procedure.

       You are further placed on notice that these Interrogatories, Requests for
Documents and Requests for Admissions are deemed continuing, requiring supplemental
responses thereto in the event requested information becomes available which would
require amendment or supplementation of your responses in order that they would be
proper and truthful.


                                     INSTRUCTIONS

        In answering these Interrogatories, Requests for Production of Documents and
Requests for Admissions, please furnish all infonnation which is available to you,
including, without limitation, all information in the possession of your attorneys,
accountants, affiliates, auditors, agents, employees, officers, directors, shareholders,
contractors, or other personnel, and not merely such infonnation as is in your possession.

      If you cannot respond to any of the following Interrogatories, Requests for
Production Documents and Requests for Admissions, in full, after exercising due diligence

PLAINTIFF'S FIRST SET OF INTERROGATORIES,                                    Page1110
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to secure information to do so, please so state, and respond to the extent possible,
specifying all reasons why you are unable or unwilling to respond to the remainder, stating
whatever information you have concerning the unproduced information, and what efforts
you made to secure information sufficient to allow you to respond fully to the particular
Interrogatory.

       Although one or more of the following Interrogatories, Requests for Production of
Documents and Requests for Admissions, may not appear to be applicable to or directed
to you, please respond to each and every one of them to the extent that you are able to
provide any response thereto whether such response consists of information within your
own knowledge or what you have obtained from others. However, for every response in
which you include information received from others, please provide the name, any known
address, and any known phone number of the person from whom you so received such
information. Further, in each such Instance, please state that you cannot verify such of
your own personal knowledge, identifying particularly the information for which you cannot
vouch. Further, these Interrogatories contain words or phrases that require you to refer to
the "Definitions" section of this document provided herein below.

For each "document" responsive to any request withheld from production by you on the
ground of any privilege, please state:

       (a)    the   nature of the document (e.g., letter, memorandum, contract, etc.);
       (b)    the   author or sender of the document;
       (c)    the   recipient of the document;
       (d)    the   date the document was authored, sent, and/or received; and
       (e)    the   reason such document is allegedly privileged.

      Unless otherwise stated, each Interrogatory pertains to the time period beginning
January 2009, through the present date. Thus, your responses should be fully answered
as they pertain to information within that time frame. Further, each Interrogatory,
Requests for Production of Documents and Requests for Admissions, should identify the
appropriate time frame, if your response requires same.

                                        DEFINITIONS

       1. "Document(s)" shall mean and include any printed, typewritten, handwritten or
otherwise recorded matter of whatever character, including specifically, but not exclusively,
and without limiting the generality of the foregoing, letters, e-mails, diaries, desk and other
calendars, memoranda, telegrams, posters, cables, reports, charts, statistics, envelopes,
studies, newspapers, news reports, business records, book of account(s) or other books,
ledgers, balance sheets, journals, personal records, personal notes, any piece of paper,
parchment, or other materials similarly used with anything written, typed, printed, stamped,
engraved, embossed, or impressed upon it, accountants statements, accounting records
of any kind, bank statements, minutes of meetings or other minutes, labels, graphics,
notes of meetings or conversations or other notes, catalogues, written agreements,
checks, announcements, statements, receipts, returns invoices, bills, warranties,

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advertisements, guarantees, summaries, pamphlets, prospectuses, bulletins, magazines,
publications, photographs, work-sheets, computer printouts, telex transmissions or
receipts, teletypes, telefaxes, file folders or other folders, tape recordings, and any original
or non-identical (whether different from the original by reason of any notation made on
such copies or otherwise), carbon, photostatic or photograph copies of such materials.
The term "documents: includes Automated Universal Dataforms (AUD) used in the credit
reporting industry. The term "documents" shall also mean and include every other
recording of, or means of recording on any tangible form, any form of information, data,
communication, or representation, including but not limited to, microfilm, microfiche, any
records stored on any form of computer software, audio or video tapes or discs, digitally
recorded dis ks or diskettes, or any other medium whatsoever.


      2.      "Explain" means to elucidate, make plain or understandable, to give the
reason for or cause of, and to show the logical development or relationships thereof.

       3.      "Concerning" means related to, about, in connection with.

       4..     "Identify" means that you should state:

               (a)     any and all names, legal, trade or assumed;
               (b)     all addresses used;
               (c)     all telephone and tele-fax numbers used; and, if applicable:
               (d)     brand, make, manufacturer's name, address, phone number and the
                       manufacturer's relationship to any and all Defendants in the above
                       captioned action; and
               (e)     employer's name, address, phone number and the employer's
                       relationship to any and all Defendants in the above captioned action.
               (f)     Title, type or category of document

       5.     "Person(s)" means any human being, sole proprietorship, limited
partnership, partnership, association, group of human beings, other legal or de facto entity,
or corporation, of whatever kind.

        6.     "the form letter'' refers to the form of letter attached to Plaintiff Amended
Complaint as Exhibit 1 or any letter with substantially the same content and containing the
following language "If you voluntarily surrender possession of the collateral specified
herein, you could still owe additional monies after the money received from the sale of
the collateral is deducted from the total amount you owe."

        7.      "Plaintiff' or "Plaintiffs" refers to Sadie Hackler for herself and all others
similarly situated.

     8.   "Putative Class" refers to the putative class described in Plaintiff's
Amended Complaint filed in this case.


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          9.    "Complaint" means the most recent amended complaint filed in this case.

       10.    "You" refers to defendant Tolteca Enterprises, Inc. d/b/a Phoenix Recovery
Group, the company, entity, institution, agency, subsidiary(ies), parent corporation(s)
and/or any of its branches, departments, employees, agents, contractual affiliates, or
otherwise connected by legal relationship, in the broadest sense. "You" includes any of
your sister companies or related entities, whether or not separately incorporated. You may
also be referenced herein simply as "Defendant''.

         11.    The "relevant time period is from August 31, 2017 through the last day of
trial of this case. All discovery request are restricted to the relevant time period unless a
different time is specified in a particular request.

        12.    "Factual" means concerned with what is actually the case, rather than
interpretations of or reactions to it.

      13.       "Consumer" as used herein has the same meaning as defined in 15 U.S.C.
§1692a(3);

      14.       "Debt" as used herein has the same meaning as defined in 15 U.S.C.
§1692a(5);

       15.  "Debt collector' as used herein has the same meaning as defined in 15
U.S.C. §1692a (6);

       16.  "Communications" as used herein has the same meaning as defined in 15
U.S.C. §1692a (2);

       17.      "Form letter" means a standardized letter to deal with frequently occurring
matters.

      18.     "Initial communication letter" means any documents sent to a consumer
pursuant to 15 U.S.C. 1692g (a).

          19.   "Net worth" means the fair market value of Defendant (as opposed to book
value).




PLAINTIFF'S FIRST SET OF INTERROGATORIES,                                     Page4j10
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                                  INTERROGATORIES

         1.   With respect to the letter attached to the Complaint as Exhibit 1, please:

              (a) Describe under what circumstances the letter Is sent by you;

              (b) State how many of the letters of the same or similar content were sent
                  to consumers debtors during the relevant time period (count repeated
                  letters sent to the same household as separate letters sent);

               (c) Identify each consumer to whom the same or similar letter was sent
                   during the relevant time period;

               (d) State how many consumers were sent more than one letter of the
                   same or similar content during the relevant time period;

         2.    If you contend that Plaintiff's claims against you are not typical of the

claims of other people to whom the form letter has been sent, state all the factual

reasons for such contention.

         3.    If you contend that this case is not suitable for the class action procedure,

state all the factual reasons for such contention.

         4.    If you contend that individual issues of fact or law predominate over issues

of fact or law common to the class Plaintiff seeks to certify, state all the factual reasons

for such contention.

         5.    Identify all creditors for whom you have sent to their consumers letters of

the same or similar content as Exhibit 1 to Plaintiff's Complaint in this case. (unless

already disclosed in response to the request for disclosure concerning additional parties

to be joined in this action).

         6.    State the net worth of Defendant for the last three years (2016, 2017, and

2018) and identify all documents that demonstrate Defendant's net worth during those

years.

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       7.     State what factor you considered in arriving at your statement of the net

worth of Defendant.

       8.     Does the amount that you claim is due from Plaintiff include a "one-time

agency fee" referred to in your letter, and if so, how much is the alleged fee?

       9.     State the total revenue of Defendant in 2018.

       10.    Identify all of the shareholders of Defendant.

       11.    State the factual basis for your affirmative defense that it was a bona fide

error for you to have sent to Plaintiff the letter that is attached as Exhibit 1 to the

Complaint in this case.

       12.    From where or what source did you obtain the form letter or same content

in the form letter that is attached as Exhibit 1 to Plaintiff's Complaint in this case.

       13.    For how long have you been using the form letter or same content in the

form letter that is attached as Exhibit 1 to Plaintiff's Complaint in this case.




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                     REQUEST FOR PRODUCTION OF DOCUMENTS

       1.     Please produce any and all procedure manuals or documents used during

the relevant time period that concern your procedures for collection of alleged debts

from consumers.

       2.     Please produce all documents in your possession that concern Plaintiff.

       3.     Please produce all documents passing between you and Plaintiff.

       4.     Please produce all documents passing between you and the original

creditor that concern or mention Plaintiff.

       5.     Please produce all documents passing between you and any credit

reporting agency that concern or mention Plaintiff, whether by Automated Universal

Dataform or otherwise.

       6.     Please produce documents that will identify all persons to whom you have

sent the form letter within the relevant time period.

       7.     Please produce an exemplar of each form collection letter you have used

in relation to collection of alleged debts during the relevant time period.

       8.     Please produce all of your bonds that you contend comply with Texas

Finance Code §392.101;

       9.     Please produce your fee agreement with your attorneys.

       10.    Please produce the most recent audited financial statement of Defendant

(Plaintiff will enter the standard Western District of Texas Protective order with respect

to the requested documents).




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       11.    Please produce the most recent un-audited financial statement of

Defendant (Plaintiff will enter the standard Western District of Texas Protective order

with respect to the requested documents).

       12.    Please produce all insurance policies that may or might cover the

allegations made in the Complaint.

       13.    Please produce an exemplar of every form of initial communication letter

you have sent to consumers within the 3 years preceding the filing of the Complaint in

this case.

       14.    Please produce all document which you claim allow you to truthfully allege

that some consumer debt balances might "include a one-time agency fee''.

       15.    Please produce all financial statements, profit and loss statements,

income statements, balance sheets, valuation and federal tax returns that you have

created and/or delivered to third parties, including banks, mortgage companies, other

lenders, shareholders, bonding companies, and tax preparers in 2016, 2017 and 2018.

       16.    Please produce all documents concerning your bona fide error affirmative

defense.

       17.    Please produce all of the documents you received from the original

creditor (your client) concerning Plaintiff.




PLAINTIFF'S FIRST SET OF INTERROGATORIES,                                  Page 8110
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                              REQUESTS FOR ADMISSIONS

       1.      Admit or deny that the letter attached as Exhibit 1 to the Complaint is a

true and correct copy of the original letter you sent to Plaintiff.

       2.      Admit or deny that you sent the letter attached as Exhibit 1 to the

Complaint to Plaintiff.

       3.      Admit or deny that the letter attached to the Complaint as Exhibit 1 was

your initial communication with Plaintiff.

       4.      Admit or deny that the letter attached as Exhibit 1 to the Complaint is a

form letter.

       5.      Admit or deny that you have sent the form letter attached as Exhibit 1 to

the Complaint to at least 40 alleged debtors during the relevant time period.

       6.      Admit or deny that you are a debt collector as that term is defined in 15

U.S.C 1692a (6).

       7.      Admit that the alleged debt of Plaintiff in this case is an alleged debt as

defined by 15 U.S.C. 1692a (5).

       8.      Admit or deny that Defendant does not maintain procedures reasonably

adapted to ensure that the notice required by 15 U.S.C. §1692g is included in all

initiation communication with consumer debtors.

       9.      Admit or deny that Defendant does not maintain procedures reasonably

adapted to ensure that an accurate statement of the amount of the debt alleged owed

by the consumer that Is required by 15 U.S.C. §1692g is included in all initiation

communication with consumer debtors.




PLAINTIFF'S FIRST SET OF INTERROGATORIES,                                   Page 9 j 10
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                                             Respectfully submitted,

                                             LAW OFFICE OF BILL CLANTON, P.C.
                                             926 Chulie Dr.
                                             San Antonio, Texas 78216
                                             (210) 226-0800 Telephone
                                             (210) 338-8660 Facsimile

                                             BINGHAM & LEA, P.C.
                                             319 Maverick Street
                                             San Antonio, Texas 78212
                                             (210) 224-1819 Telephone
                                             (210) 224-0141 Facsimile

                                              By:   Isl Benjamin R. Bingham
                                                       BENJAMIN R. BINGHAM
                                                       State Bar No. 02322350
                                                       ben@binghamandlea.com
                                                       WILLIAM M. CLANTON
                                                       State Bar No. 24049436
                                                       bill@clantonlawoffice.com

                                             ATTORNEYS FOR PLAINTIFF




                             CERTIFICATE OF SERVICE

       I certify by my signature below that on December 14, 2018, I have caused a true
and correct copy of the above and foregoing to be served by e-mail and U.S. First Class
Mail on the following:

Tom Clarke
Tclarkeatty?@aol.com
LAW OFFICES OF TOM CLARKE
8026 Vantage Dr., #105
San Antonio, Texas 78230

COUNSEL FOR DEFENDANT
                                        Isl Benjamin R. Bingham
                                        BENJAMIN R. BINGHAM
                                        WILLIAM M. CLANTON


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                                                                                          2103487946                      p,1
Jan141911:17a        Tom Clarke Atty At Law




                                                              Thomas A. Clarke
                                                         Attomey & Counselor at Law

                8026 Vantage Drive                                                                     210/34()..8448
                Suite 105                                                                            210/348-7946 fax
                San Antonio, Texrui 78230


                                                                   FAX SHEET




                0 URGENT                    DFORREVIEW                 0   PLEASE COMMENT                    0 PLEASE 'REPLY
                NOTES/CO.M:MBNTS

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                If transmission is incomplete, please call 210/340-8448
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                                    UNlTED STATES DISTRICT COURT
                                     WESTERN.DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION

       SADIE HACKLER                                     )      CIVIL NO. 5:18-CV-00911-XR

       v.                                                )
       TOLTECA ENTERPRISES lNC.,
       DBA THE PHOENIX RECOVERY
       GROUP                                             )

                DEFENDANT'S RESPONSES AND OBJECTIONS TO INTERROGATORIES

               Defendant makes the following responses and objections to the Plaintiff's First Set of
       Interrogatories.

                                                             S/Tom Clarke
                                                             TBN 04318600
                                                             8026 Vantage Dr. #105
                                                             San Antonio, TX 78230
                                                             210/340-8448
                                                             2 l 0/348-7946 fax
                                                             tclarkeattv71@.aol.com

                                                             Attorney for Defendant

                                        CERTIFICATE OF SERVICE

              I certify that a copy has been served on Benjamin Bingham, Plaintiff's Attorney, by fax to
        210/224-0141onJanuacy14, 2019.

                                                             Strom Clarke


                                      Interrogatory Responses & Objections

        Gen<:<ral Objection: Defendant objects to the definition of "Plaintiff" as being overbroad and
        because no class action bas been certified.

        Objection to the language about the terminology ''If you voluntarily surrender possession of the
        collateral specified herein, you could still owe additional monies after the money received from
        the sale of the colla1eral is deducted from the total amount you owe!'. That is not in any letter
        from the Defendant to Sadie Hackler. Therefore, the definition of "form letter" is erroneous.




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       All interrogatories about or on "form letter" is therefore erroneous and objected to as being fal5e,
       misleading and inaccurate.

       Object to the definition of"new worth" as being incorrect and misleading. Net worth is the value
       of all assets minus all liabilities and that amount is contended to be reflected on the Defendant's
       tax returns. Defendant contends it is not fair market value but book value.

       1. Object as overbroad, unduly burdensome, not relevant or likely to lead to admissible
       evidence and as premature as no class exists and no class has been certified and this case is not
       class viable anyway.

       Subject thereto,

       Letter sent to Plaintiff to notify her of her debt owed her creditor.

       Unknown as to whether any similar letter sent anyone else and quantity unknown and not readily
       ascertainable.

       Don't know about any other letters or identities of any consumer.

       Would show that this case is not class wo            erefore the matters inquired aliout are
       objectionable and premature       m an ev n mqumng about the matter would be unduly
       expensive and time consuming to research for which a protective order would be needed
       concerning cost and invading confidential business practices, identities, and methods of
       conduction business. Object as being irrelevant, overbroad, unduly burdensome, object as not
       being reasonably calculated to lead to the discovery of admissible evidence, object as being a
       fishing expedition.

       2. Too vague and speculative to answer and also there are no other complaints about the
       Defendant's letter. Therefore, unable to ans\ver.

        3. l':l'o ascertainable class; class claims are ambiguous and vague; insufficient redressability due
        to Defendant's meager net worth; not superior to individual cases; to~J.es-'sii
        common que-stions of law and fact donot -e-xi-s=t;-o~v,-er'b-ro-a-:d;-an--,d'un-·aury burdensome to research;
        identities are private information; not every consumer collection matter includes any collection
        fees; statute of limitations issues may exist on claims; ne~ve to very small net worth so not
        class viable. Object as being irrelevant and not reaso!iiibIYcalculated to lead to the discovery of
       'admissible evidence.

       4. Insufficient information at this time to respond to this interrogatory and it is objected to as
       being overbroad, unduly burdensome; irrelevant, not reasonably calculated to lead to the
       discovery of admissible evidence, premat\ll:l: since no class has been certified and this case is not
       class worthy in any event due to problems of ascertainability and Defendant's net worth which is
       between negative to at roost $45 ,000.




                                                                                                                        13
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       5. Object as being overbroad, unduly burdenllome, irrelevant, premature as no class exists or bas
       been certified, object as not being reasonably calculated to lead to the discovery of admissible
       evidence, object as being unduly invasive ofDefendant's privacy and that of their clients (the
       creditors), object as the creditors are not parties to this lawsuit and their information is private;
       object as Defendant's creditors are not parties and Defendant has no permission to divulge their
       identities and object as Defendant is not required to create a list and therefure this is an improper
       interrogatory. Defendant would be needing a protective order on this.

        6. Defendant's net worth is between a negative $60,000 to+ $45,000. Documents: 2016 and
        2017 tax returns and any other documen1s Brlan Boyd CPA has on the company's fuiancial
        condition. 20 l & documents are not prepared yet.

        7. Subject to any analysis of Brian Boyd CPA, assets minus liabilities.

        8. Will supplement.

        9. Will supplement.

        10. Object as being unduly invasive of the private business of the Defendant and not relevant
        and not reasonably calculated to lead to the discovery of admissible evidence. Object as the
        shareholders are not parties to this lawsnit.

        You are not entitled to know who the shareholders are. On proper requests, will disclose 1he
        corporate officers however.

        11. Will supplement.

        12. Will supplement

        13. Will supplement.
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Jan 121901:38p         Tom Clarke Atty At Law




                                                                 Tb.omas A. Clarke
                                                            Attorney & Counselor at Law

                 8026 Vantage Drive                                                                         2101340-8448
                 Suite 105                                                                                210/348-7946 :Vax
                 San Antonio, Texas 78230


                                                                      FAX SHEET

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                                                                       ::>
                                                                              J., ,q,-,_,
                                                                              DATE:   __,_/_-_/;...._'L_..-_l_'J____



                 OURGENT                      0   FORREVIEW                   D PLEASE COMMENT                   0 PLEASE REPLY

                 NOTES/COMMENTS




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                                                                            2103487946                p.2




                                     Ul'<ITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF TEXAS
                                           SAN ANTONIO DMSION

        SADIE HACKLER                                    )      CIVIL NO. 5:18-CV-00911-XR

        v.                                               )
        TOLTECAENIBRPRISES INC.,
        DBA THE PHOENIX RECOVERY
        GROUP                                           )
                 Defendant makes the following responses to the Plaintiff's Requests for Admission.

                                                             S/Tom Clarke
                                                             TBN 04318600
                                                             8026 Vantage Dr. #105
                                                             San Antonio, TX 78230
                                                             210/340-8448
                                                             210/348-7946 fax
                                                             tclarkeattv7@aol.com

                                                             Attorney for Defendant

                                         CERTIFICATE OF SERVICE

               I certify that a copy has been served on Benjamin Bingham, Plaintiff's Attorney, by fax to
        210/224-0141 on January 12, 2019.

                                                             S/Tom Clarke


        Responses to Requests for Admissions

         I. Admit.

        2. Admit.

        3. Probably. Research continues on that.

        4. Admit.

        5. Unable to admit or deny due to insufficient information. Otherwise, denied.

        6. AQmit.




                                                                                                            {~
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            7. Admit.

            8. Denied.

            9. Denied.




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                                                                  Thomas A. Clarke
                                                             Attorney & Counselor at Law

                  8026 Vantage Drive                                                                        210/340-8448
                  Snite 105                                                                               210/348-7946 fax
                  San Antonio, Texas 78230


                                                                       FAX SHEET




                  DURGENT                      OFORREVIEW                  0 PLEASE COMMENT                       0 PLEASE REPLY

                  NOTES/COMMENTS


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                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF TEXAS
                                         SAN ANTONIO DMSION

        SADIE HACKLER                                    )       CIVIL NO. 5:18-CV-00911-XR

        v.                                               )
        TOLTECA ENTERPRISES INC.,
        DBA THE PHOENIX RECOVERY
        GROUP                                            )

                           DEFENDANT'S RESPONSES AND OBJECTIONS TO

                                    TITTj REQUESTS FOR PRODUCTION

              Defendant makes the following responses and objections to the Pla.intiff' s Requests for
        Production ofDocwnents.

                                                             Strom Clarke
                                                             TBN 04318600
                                                             8026 Vantage Dr. #I 05
                                                             San Antonio, TX 78230
                                                             210/340-8448
                                                             210/348-7946 fax
                                                             tclarkeattv7@aol.com

                                                             Attorney for Defendant

                                          CERTIFICATE OF SERVICE

              I certify that a copy has been served on Benjamin Bingham, Plaintiff's Attorney, by fax to
        2101224-0141 on January 14, 2019.

                                                             S!rom Clarke


                                        Production Responses & Objections

         General Objection: Defendant objects to the definition of"Plaintif!" as being overbroad and
         because no class action has been certified.

         Objection to the language about the 1erminology "If you voluntarily surrender possession of the
         collateral specified herein, you could still owe additional monies after the money received from
         the sale of the collateral is deducted from the total wnount you owe". That is not in any letter




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         from the Defendant to Sadie Hackler. Therefore, the definition of"furm letter" is erroneous.

         All inquiries about or on "form Jetter" is therefore erroneous and objected to as being false,
         misleading and inaccurate.

         Object to the definition of"new worth" as being incorrect and misleading. Net worth is the value
         of all assets minus all liabi1ities and that amount is contended to be reflected on the Defendant's
         tax returns. Defendant contends it is not fafr market value but book value.

         1. Object as overbroad, unduly burdensome, not relevant or likely to lead to admissible
         evidence. Object as being a fishing expedition. Object as being oppressive and disproportionate
         to the needs of tbis case.

         2. Will produce the :file on Ms. Hackler.

         3. Will produce the file on Ms. Hackler.

         4. Will produce any documents Defendant has received or sent to Ms. Hackler's creditor.

         5. Will produce any documents in Defendant's possession custody or control from any credit
         reporting agency on Ms. Hackler.

          6. No list exists. Object to creating one.

          7. None known other than the letter to Ms. Hackler.

          8. This infonnation is on file with the Texas Secretary of State. You may obtain it there.

          9. Obj eot as Defendant is not claiming attorney fees in this case. Therefore, irrelevant.

          10. Subject to a confidentiality agreement and a protective order as per the WDTX the
          Defendant will ptoduce its 2016 and 2017 tax returns.

          Do not have any audited statements from Brian Boyd CPA for the Defendant and object to
          creating one since it is not required. to be created.

          11. Same answer as l 0, above.

          12. None known.

          13. Object as being overbroad, outside the 1 year relevant time period, object as being-unduly
          burdensome, irrelevant and not reasonably calculated to lead to the discovery of admissible
          evidence.
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         14. Object as being overbroad, outside the 1 year relevant time period, object as being unduly
         burdensome, irrelevant and not reasonably calculated to lead to the discovery of admissible
         evidence. Subject to the objections, if the underlying contract between the creditor and consumer
         allows for collection of agency fees, then it is possible that such a fee would be included in the
         principal amount owed the creditor.

         15. Object to the extent any such docwnent does not exist; object as being overbroad, oppressive,
         unduly burdensome, irrelevant and not reasonable calculated to lead to the discovery of
         admissible evidence; object as being a fishing expedition. Object as 2018 tax return not ready
         yet; a confidentiality and protective order will be necessary on this; subject to the objections, will
         produce 2016 and 2017 tax returns and if there are any other documents responsive will seek to
         get and produce lb.em unless same are otherwise subject to these objections or do not exist.

         16. Will supplement

         17. Will produce whatever Ms. Hackler's creditor sent Defendant on the debt claim.




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                          UNITED STATES DISTRICT COW.RT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO 01Vl$10N
SADIE HACKLER, on behalf of herself         §
arid all others similarly slt1Jated,        §
                                            §
Plaintiff,                                  §
                                            §
v,                                          §          Case No. 5:18-CV-00911-XR
                                            §
TOLTECA ENTERPRISES, INC. d/b/a             §
PHOENiX RECOVERY GROUP,                     §
                                            §
Defendant.                                  §

                .PLAiNTlFPS SECOND SST OF INTERROGATORIES

TO: bEFENDANT, TOLTECA ENTERPRISES, INC. d/b/a PHOENIX RECOVERY
GROUP, by and through Its attorney, Tom Clarke at the Law Offices of Tom Clarke,
8026 \i'ante1ge or,, Stec· 105, San Antonio, Texas 78230.

        PLEASE TAKE NOTICE that you are hereby notified anci required to respond to the
following Interrogatories, Requests for Production of Documents, and Requests for
Admlssiona propounded by Sadie Hackler, Plaintiff herein; through her attorneys .of record;
within tblrty (30) days· from service hereof In accordance with the provisions of Rule 33, 34
and 36, et seq,, of tbe Federal .Rules of Civil Procedure.

       You are further placed on notice that these lriterrogatorie11, Requests. for
Document!I and Requests far Admissions are deemed continuing, reqUiring supplemental
re.sponse(:l theriito in the ev!lnt tequeioted .information becomes available which Wai.lid
require amendment or supplementation of your responses In order that they would be
proper and truthful.                                                           ·


                                     INSTRUCTIONS

        In answering. these Interrogatories, Requeiotio for Production of Doc1;1mE;Jnts and
Requests for Admissions, please furnish ail informatkin Which is available to you,
including, without Umliatlon, all lnfohtiation in the possession of your attorneys,
accountants, affiliates,. auditors, agents; employees, officers, directors, shareholders,
contractorio, or other personnel, and not merely such information as is in. your possession.

       If you cannot respond to any of the followlrig Interrogatories, Requests for
Production Documents and Raquests for AdmlssioM, In full, after exercising due diligence
to sec(lre information to do so, please so state, end respond. to the. extent pos$ible,


PLAINTIFF'S SECOND SET OF INTERROGATORIES

                                                                                                2- 2--   I
                                                                                                         '
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specifying all reasons why you are unable or unwilling to respond to t~e remajhder; stating
Whatever information you have cancetnrng the uilproduced information, and what efforts
you made ta !lecL1re information sufficient to allow you to respond fully to the partk:ular
Interrogatory,                                                                   ·

       Although one or mare of the following lnterrag·atorles, Requests for Productloh of
Documents and .Requests for Admissions, may not appear to be applicable to or directed
to you, please respond to .each and every one of them. to the extent that you are able to
provide any resppnse thereto whether such response c.onsi!lts of lnfonna~ion within yoqr
own knowledge or what you have obtained ftam others. However, for every response In
which you fndude information received from others,. please provide the name, any known
address; ahd any known phone number of the person from whom you so received such
information. Further, In each such Instance, please state that you cannot verify such of
your own personal knowledge, identifying particularly· the informiation for which you cannot
vouch. Further, these. Jrite~rogatories contain word.s or phrases that reqqjre yoq to refer to
the "Definitions" section of this document provided herein below.

For each "document" responsive to any request Withheld from production by you on the
ground of any privilege, please state:

       (a)    the nature of the document (e.g.,. letter, memorandum, contract, etc.);
       (b)    tha <1uthor or sender of the document;
       (c)    the reclpli:lntof the· document;
       (d)    the qate·the document wai> autiiored, sent, and/or received; and
       (e)    the reason such document is allegedly privileged,

      Linfess otherwise stated, each Interrogatory pertains to the time period beginning
January 2009, through the present date. thus, your responses should .be .fully answered
as they pertain to Information within that time frame. Further, each Interrogatory;
Requests for Production of Documents and Requests for Admissions, should Identify tile
appropriate time frame, if your response requires same,

                                       DEFINITIONS

         1. "Document(s)" shall mean and inelude any printed, typewritten, handwritten or
otherwise recorded matter of whatever character, including specifically, but not exclusively,
and without limiting the generality ofthe foregoing, letfers, e-mails, diaries, desk and other
c.i;tlendars, memoranda, telegram~, posters •. cables, reports, charts, statl,stlcs, envelopes,
studies, newspapers; news reports, busines$ recordi:i, book ·of account(s) or other books,
ledgers, balance sheets, journals, personal records, personal notes, any piece of paper,
parchment,. or other materials .similarly ueed with anything written, typed, printed, stamped,
engraved, embo$$ed,. or Impressed upon It, aocountants statements, accountihg records
of any kind, bank statements, minutes of meetings or other minutes, labels; graphics,
not~s of meetings or co1iversat1qns 6.r other notes,, catalogues, written agreements,
checks, announcements, statements, receipts, returns Invoices, bills; warranties,
advertisements, guarantees, summaries, pamphlets, prospectuses, bulletins, magazines,


PLAINTIFF'.S SECOND SET OF INTERROGATORIES
     Case 5:18-cv-00911-XR Document 27-1 Filed 05/20/19 Page 26 of 32




publication!!, photographs, work"eheets, computer printouts,, telex transmissions or
receipts, teletypes, telefaxes, file, folders or otherfolders, tape recordings, and any ,original
or non-identical (whether different from the original by reason of any notation made on
such copies or otherwiee)., carbon, photostatic or photograph copies of such materials;.
The term "doc.uments: includes Automated Univers;;il D;;itaforms (AUD) use.d in the credit
reporting Industry. The term ''documents" shall ;:1lso mean and lncll,Jde e\/erY other
recording of; or means of recording on any tangible form, any form of Information, data,
communication, or representation, including but not limited to, microfilm, mk:rofiche, any
records stored on E!ny form of computer software, a!Jdfo or video tapes or discs, digitally
recorded disks or djskeUes, .or any other medium whatsoever.


       .2.    "Explain;' means to elucidE!te, make plain or understandable, to glile the
reason for or cause of, and to show the logical development or relationships thereof.

       3.      "Concerning" means related to, about, In connection with.

       4..     "Identify" means that you should state:

               (a)    any and all names, legal, trade or assumed;
               (b)    all addresses used;
               (c)    all telephone and tele-fax numbers used; and, If applicable:
               (d)    brand, make, manufacturer's nah'le, address, phone nuh'lber and the
                      man!lfactµrer's relationship to any and all Defe.ndants in the. above
                      captioned action; an<;I
               (e)    employer's name, address, phone hLlrnber and the employer's
                      relationship to any and all Defendants in the above. captioned action.
               (f)    Title, type or category of document

       5.     "Persoh(s)" means any human being, sole proprietorship, l_imited
partnership, partnership, association, group of human beings, other legal or de facto entity,
or corporatlon, of whatever kind.

          6..     "PlaJntiff" or "Plaintiffs" refers to Sadie Hackler for herself and all others
si111ilarly situated.

     7.   "Putative Cla.ss" refers to the putative class described ln Plaintiffs
Amended Complaint filed In this case.     ·

        8.       "Complaint" means the most recentcomplaint or amended ¢oh1piaint filed
        in .this case.

        9.     "Yau" refers to defendant Totteca Enterprises, 'Inc. dlb/a. Phoenix Recovery
               C'lroup, the company, entity, institution, agency, subsidiary(les); parent
               cotporation(s) and/or any of its branches, departments, employees, agents,
               contractual affiliates, or otherwise connected by legal relationship, in the


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              broadest sense. ''You" includes any of your sl.$ter companies or related
              entities, whether or not separately Incorporated. You may also be
              referenced herein simply as "Defendanf'.

         1O: The· "relevant time period Is from August 31,. 2017 through the last day of
trial of this ease, All discovery requests are reetrlcted to the relevant time period unless a
different time is specified In a particular request.,

        11.    "Factual" means concerned with What i:s actually the case, rather than
interpretations of or reactions to it..

      12.     "Consumer'' as used nereln has the si:\me meaning as defined in 15 U.S.C;
§1692a(3);

      13,   "Debf' as used herein has the same meaning as c:{efifled in 15 U;S.C.
§1692a (5};

       14. "Debt collector" as used herein has the same meaning as defined in 15
U.S.C. §1692a (6);
       15.    "Commlii:\icaticins" as used herein has the same meaning as defined In 1'5
u.s.c. §1692a (2);
       16.    ''Form IEltter'' means a..standardized letter to deal with. frequently occurring
matters.

      17.     "Initial communicaiion letter' means any documents sent to a consumer
pursuant to.15 U.S.C. 1692g (a).

       18.    "Net worth" means the book value of Defendant.


                                   INTERROGATORIES

       1.     With respect to the letter attached to the Complaint as Exhibit 1, please:
              (a) State how many ofthe letters of the. same or similar content were sent
                  to ~onsurners debtor$ during !he relevant time period {collnt repeated
                  letters sent to the same household as sep;ilrate letters sent);

              (b) Identify each .consumer to whom the same or similar letter was sent
                  during the relevant time period;

              (c) State fiow many corist1mers were sent more than one letter of the
                  same or simllatcontenf durltig the relevanttiine period;



PLAINTIFF'S SECOND SET OF INTERROGATORl.ES
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                 (d) State why you d.eleted the "In writing" phre1i:ie that was In yourdemand
                     letters In the past. (See Exhibit X attached hereto, compared to
                     Exhibit 1 attached to Plaintiff's· Complalnt)

       2. State what efforts you made prior            to   answering Plaintiff's First set of

lnterrog;ataries on January 14, 2019 to deter.mine whether letters similar to thatattached

as Exhibit 1 (o Plain~ff's Complaint were sent to other persons during the relevant time

period.

       3. State an the reasons that you cialm a class Is unasoertalnable in this case.

       4. (Jtate why and when you decided to. drop the "in writing" phrase you used in

your lnltlal communication letters. in December of 2014 (compare Exhibit 1 to Plaintiff's

Complaint to ExhibitX <1tlE1ched hereto).

           5. State whether you have octmpared the effectiveness of your collection efforts

for any time pertqd J;iefore <1nd after yotJ tocik. the ''lh writing" out of your Initial coUection

letters.




                                                    Respectfully submitted,

                                                     LAW OFFICE OF BILL CLANTON, P.C .
                                                    .926 ChtJlle Dr.            ·
                                                     San Antonio, Texas 78216
                                                     (21 O) 226-0800 Telephone
                                                     (210) 338-8660 F'acsimile
                                                    BINGHAM & LEA, P;C,
                                                    319 M~werick Street
                                                    San Antonio, Texas 78212
                                                    (21 O) 224-181.9 Telephone
                                                    (210} 224-0141 Facsimile
                                                    Sy: Isl Benjamin R. Bingham
                                                            BENJAMIN R. SINGHAM


PLAINTIFF'S S.ECOND SET OF 1.NT.ERROGATORIES
     Case 5:18-cv-00911-XR Document 27-1 Filed 05/20/19 Page 29 of 32




                                                     State Bar No; 02322350
                                                     ben@binghamandlea.com
                                                     WILLIAM M. CLANTON
                                                     State Bar No. 24049436
                                                     bill@clantonlawofflce.com

                                              ATTORNEYS FOR PLAINTIFF




                             CERTIFICATE OF SERVICE

       I certify by mY signature .below that on February?l1201~ I have caused a true
and correct copy of the above and foregoing to be served by e-mail and U.S. f'irst Class
Mail on the following:

Tom Clarke
Tclarkeatty7@aoLcom
LAW OFFICES OF TOM CLARKE
6026 Vant;;ige Dr., #105
San Antonio, Texas 78230

COUNSEL FOR DEt=ENDANT
                                         ls/Bentam/n R. Bingham
                                        BENJAMIN R. BIN~f:lAM
                                        WILLIAM M. CLANTON




PLAl.NTIPF'S SECOND SET OF INTE.RR'OGATORIES

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                                                                                         2103487946
                    Tom Clarke A\\Y At Law
Mar 26 Hl 11 :OOa




                                                                     Thomas A. Clarl<:e
                                                                Attorney & Counselor at Law

                     &026 Vantage Drive                                                                         2101340-8448
                     Suite 105                                                                                210/348-7946 Fax
                     San Antonio, Texas 78230


                                                                          FAX SHEET



                                                                              DATE:        J ~ 2--1.,    -·   I?



                     OURGENT                     0 FOR REVIEW                 0 PLEASE COMMENT                      0 PLEASE REPLY
                     NOTES/COMMENTS

                                   12/s (av?''/"        7                    •




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                     of th.is is prohibited. This fuxis intended o!tlyfurfue us• ofthe person named above, 1fyou lmvercceived this in error,
                     please notify us immediately to arrange for irs rerurn to us, or its destruction.
                Case 5:18-cv-00911-XR Document 27-1 Filed 05/20/19 Page 31 of 32
Mar261911:00a       Tom Clarke Atty At Law                                  2103487946                 p,2
                              '.




         UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

         SADJE HACKLER                                     )       CIVIL NO. 5:18-CV-00911-XR

         v.                                                )
         TOLTECA ENTERPRISES INC.,
         DBA THE PHOENIX RECOVERY
         GROUP                                             )

                             DEFENDANT'S RESPONSES AND OBJECTIONS TO

                                   THE SECOND     SET OF INTERROGATORIES
                  Defendant makes the following responses and objections to the Plaintiff's Second Set of
          Interrogatories.

                                                               S/Tom Clarke
                                                               TBN 04318600
                                                               8026 Vantage Dr. # 105
                                                               San Antonio, TX 78230
                                                               210/340-8448
                                                               210/348-7946 fax
                                                                tclarkeatty7@aol.com

                                                               Attorney for Defendant

                                             CERTOOCATE OF SERVICE

                I certify that a copy has been served on Benjamin Bingham, Plaintiff's Attorney, by fax
          on March 26, 20 19.

                                                               Strom Clarke

          General Objection: Object ot the definition of relevant time period since the relevant time period
          would be I year from the date Plaintiff received the letter of which she complains; not all the
          way np to the end of this lawsuit.

          1. Object since these interrogatories are premature because the matter of whether this case is a
          viable class action bas not been dcternrined and this discovery is not ripe for response. Judge
                                                                                                               f
          Rodriguez stated that the threshold issue of net worth should be tackled first before delving into   (
          class issues.
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Mar261911:00a       Tam Clark~ Atty At Law                                 2103487946                p.3




         Further object as being unduly burdensome.

         2. Same response as above.

         3. Not class worthy due to insufficient net worth of Defendant Also, the matter of
         ascertainabilily is premature.

         4. A mistake occurred. Defendant confused a consumer's right to verbally dispute a debt with a
         written dispute.

         5. Object: vague, ambiguous, not limited to the one year limitation period of the FDCPA, too
         open ended and unrestricted to a time period, "any time period" is too overbroad and would be
         unduly burdensome, calls for speculation, irrelevant, not reasonably calculated to lead to the
         discovery of admissible evidence, object as being oppressive and harassing; in any event the
         question cannot be answered. So the response is that no study has been or can be conducted.
         Defendant would contend that the presence of absence of the "in writing" phrase is immaterial.
         Anyway, it is impossible to determine if there was, could be, or might be a difference in
         effectiveness. Therefore, the interrogatory cannot be answered any better than as stated herein in
         this response and in light of these objections. Subject thereto, Defendant believes that no
         comparison can be made and there are too many other variables such as th.e nature and quality of
         tbe debt; the ability of the consumer to pay or enter into a reasonable settlement plan; the
         willingness of the creditor to settle; whether the debt amount includes reletting charges,
         apartment damages, the security deposit, and accelerated rent charges, etc. Finally, no such
         study has been or could be conducted.
